
USCA1 Opinion

	




                           United States Court of Appeals
                                For the First Circuit
                                ____________________
          No.  97-1644
                                ANDREW AKINS, ET AL.,
                               Plaintiffs, Appellants,
                                         v.
                              PENOBSCOT NATION, ET AL.,
                               Defendants, Appellees.
                                ____________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                     [Hon. Morton A. Brody, U.S. District Judge]
                                ____________________
                                       Before
                               Torruella, Chief Judge,
                                Lynch, Circuit Judge,
                            and Stearns,* District Judge.
                                ____________________
               Timothy C. Woodcock, with whom Weatherbee, Woodcock, Burlock
          &amp; Woodcock was on brief, for appellants.
               Kaighn Smith for appellees.
                                ____________________
                                  November 17, 1997
                                ____________________
          *  Of the District of Massachusetts, sitting by designation.

               LYNCH, Circuit Judge.  This case presents the first instance
          this court has been asked to address an important question in the
          allocation 
                    of 
                      sovereign 
                                powers between the Penobscot Nation and the
          State of Maine: the definition of "internal tribal matters."   If
          the dispute here  involves an "internal  tribal matter" then  the
          tribal 
                courts 
                      have 
                           exclusive jurisdiction; if not, then claims have
          been stated within federal court jurisdiction and it was error to
          dismiss the action.  While defining what constitutes an  internal
          matter  controlled by  Indian tribes  is hardly  novel in  Native
          American law, it is novel in this context.  The relations between
          Maine 
               and 
                   the 
                      Penobscot 
                                Nation are not governed by all of the usual
          laws governing such  relationships, but by  two unique laws,  one
          Maine and one  federal, approving a settlement.  That  settlement
          resulted from disputed claims for vast portions of lands in Maine
          brought 
                 by 
                    the Penobscots and others who had not historically been
          formally recognized as sovereign Indians.
                                         I.
               This case involves  the harvesting of timber on those  lands
          acquired by  the Penobscot Nation as  a result of the  settlement
          agreement. 
                     
                    Plaintiff 
                              Andrew X. Akins is the former Chairman of the
          Joint Tribal  Negotiating Committee; he  now resides in  Alabama.
          Akins 
               and 
                   his 
                      company, 
                               PENAK, Inc., also a plaintiff (whom we refer
          to jointly as "Akins")  for several years logged portions of  the
          land under stumpage permits issued by the Nation.  In December of
          1993, the Nation's  Tribal Council voted  a new policy:  stumpage
          permits  would be issued  only to people  who were both  enrolled
                                          2

          members 
                 of 
                    the 
                       Nation 
                              and residents of Maine.  Akins is an enrolled
          member of the Nation, but not a Maine resident.  Akins says he is
          the 
             only 
                  tribal 
                        member 
                               who will be affected by the new policy.  The
          policy 
                became 
                      effective 
                                on May 18, 1994 and the next day the Nation
          told Akins he was not eligible for a permit.
               Akins  sued the Nation  and its Tribal  Council in the  U.S.
          District 
                  Court 
                        in 
                          Maine, 
                                 under 42 U.S.C. SS 1983 and 1985, alleging
          that 
              singling 
                       him 
                          out 
                              through an ostensibly neutral policy violated
          his rights to due process, equal protection, and to be free  from
          bills of attainder.  He also brought state law claims and alleged
          diversity 
                   jurisdiction. 
                                 
                                 A report of a Magistrate Judge recommended
          dismissal 
                   of 
                      the 
                         case 
                              for failure to state a claim for which relief
          may be granted and for lack of subject matter jurisdiction.   The
          U.S. District Court  accepted the  recommendation and  dismissed.
          Akins appeals, arguing: that the district court erred in  holding
          that the stumpage policy is an "internal tribal matter;" that  he
          has 
             cognizable claims under 42 U.S.C. SS 1983 and 1985, as well as
          the Declaratory Judgment Act,  28 U.S.C. S 2201-02; and that  the
          stumpage policy violates the Maine Administrative Procedures  Act
          and the Maine Constitution.
                                         II.
               The  issues   in  this  case   cannot  be  grasped   without
          understanding 
                       the 
                          genesis of the Maine Indian Claims Settlement Act
          of 
            1980, 
                  25 
                     U.S.C. SS 1721-35 (the "Settlement Act").  The history
          of the Settlement Act was brought to life in the decision of  the
          Maine 
               Law 
                   Court in Penobscot Nation v. Stilphen, 461 A.2d 478, 487
                                          3

          (Me. 
              1983), 
                     and 
                        of 
                           this 
                                Circuit in Passamaquoddy Tribe v. Maine, 75
          F.3d 784, 787 (1st Cir. 1996).  A summary of that history will do
          here.
               The disputes which led to the settlement involved assertions
          that certain persons and groups were members of Indian tribes and
          as such entitled to ancestral lands and to monetary damages.  The
          claimed lands amounted to nearly two-thirds of Maine's landmass. 
          See
             
             Joint 
                   Tribal Council of the Passamaquoddy Tribe v. Morton, 388
          F. Supp. 649, 651-53, 667-69  (D. Me.), aff'd, 528 F.2d 370  (1st
          Cir. 1975).  Under federal auspices, the Penobscot Nation,  other
          claimants, 
                    and Maine negotiated a settlement.  That settlement was
          subject to approval  by both the Maine Legislature and  Congress.
          Maine 
               enacted the Implementing Act, Me. Rev. Stat. Ann. tit. 30 SS
          6201-14, which provides:
                    [T]he Passamaquoddy  Tribe and the  Penobscot
                    Nation,  within   their   respective   Indian
                    territories, shall  have, exercise and  enjoy
                    all  the   rights,  privileges,  powers   and
                    immunities, 
                               including, but without limitation,
                    the power  to  enact ordinances  and  collect
                    taxes, 
                          and 
                              shall be subject to all the duties,
                    obligations, liabilities and limitations of a
                    municipality 
                                of and subject to the laws of the
                    State, provided however, that internal tribal
                    matters,   including   membership   in    the
                    respective tribe  or  nation,  the  right  to
                    reside   within    the   respective    Indian
                    territories,  tribal   organization,   tribal
                    government, tribal elections  and the use  or
                    disposition of  settlement fund income  shall
                    not be subject to regulation by the State.
          Title 30, S 6206(1)  (emphasis added).  The Implementing Act  was
          incorporated 
                      into the federal Settlement Act of 1980, 25 U.S.C. SS
          1721-35.
                                          4

               Each 
                   party 
                        benefitted 
                                   from the settlement.  The Nation in many
          respects gained  the powers of  a municipality  under Maine  law.
          "[T]he 
                Settlement Act confirmed [the Nation's] title to designated
          reservation lands, memorialized federal recognition of its tribal
          status, and  opened the floodgate for  the influx of millions  of
          dollars in federal  subsidies."  Passamaquoddy Tribe, 75 F.3d  at
          787.  Maine, in turn, put to rest the land claims and  achieved a
          certain sharing of authority with the Nation, as described below.
                                        III.
               The structure of analysis differs here from that which would
          be 
            used 
                 in 
                    claims against the vast majority of other Indian tribes
          in 
            the 
                country.2  This is true as to the application of both state
          and federal law.  As to state law, the Penobscot Nation and Maine
          expressly 
                   agreed that, with very limited exceptions, the Nation is
          subject 
                 to 
                    the laws of Maine.  See 25 U.S.C. S 1725.  Congress was
          explicit 
                  that the purpose of the Settlement Act was "to ratify the
          Maine 
               Implementing Act, which defines the relationship between the
          State 
               of 
                  Maine 
                        . 
                         . 
                           . 
                             and 
                                 the Penobscot Nation" and "to confirm that
          all 
             other 
                   Indians 
                           . 
                            . 
                              . 
                                are and shall be subject to the laws of the
          State of Maine, as provided herein."  25 U.S.C. S 1721(b)(3)&amp;(4).
          The federal Settlement Act provides that:
                    The 
                       . 
                         . 
                           . 
                             Penobscot Nation, and [its] members,
                    and the land and natural resources owned  by,
                    or 
                      held 
                           in 
                              trust for the benefit of the tribe,
                    nation, or [its] members, shall be subject to
          2.  The Narragansett tribe in Rhode Island is also governed by a
          Claims Settlement Act.  See 25 U.S.C. SS 1701-06 (1978);
          Narragansett Indian Tribe v. Narragansett Elec. Co., 89 F.3d 908
          (1st Cir. 1996).
                                          5

                    the jurisdiction of the State of Maine to the
                    extent 
                          and 
                              in the manner provided in the Maine
                    Implementing  Act  and  that  Act  is  hereby
                    approved, ratified, and confirmed.
          25 U.S.C. S 1725(b)(1).  In turn, the Settlement Act made federal
          law 
             which 
                   was then generally applicable to Indians also applicable
          to the Penobscot Nation but declared special laws and regulations
          inapplicable.  See 25 U.S.C. S  1725(h).  The State of Maine  may
          amend the Implementing Act to modify the jurisdictional powers of
          the Nation only if  the Nation agrees to  the amendment.  See  25
          U.S.C. S 1725(e)(1).
               Although  Indian  tribes are  not  usually  subject  to  the
          diversity jurisdiction  of the federal  courts, see Romanella  v.
          Hayward, 114 F.3d 15 (2d Cir. 1997), the Settlement Act  subjects
          the Maine tribes to diversity jurisdiction:  
                    the 
                       Penobscot Nation . . . may sue and be sued
                    in the courts of  the . . . United States  to
                    the same extent as any other entity or person
                    residing in the State of Maine may sue and be
                    sued in [that] court.3
          25 
            U.S.C. 
                   S 
                     1725(d)(1).  Further, those federal laws enacted after
          October 
                 10, 
                     1980 
                         (the 
                              effective date of the Settlement Act) for the
          benefit of Indians do  not apply within Maine unless the  federal
          statute is made expressly  applicable within Maine.  25 U.S.C.  S
          1735(b).
               The Settlement Act provides at 25 U.S.C. S 1725(f):
                    The  .  .  .  Penobscot  Nation  [is]  hereby
                    authorized to exercise jurisdiction, separate
                    and distinct  from  the  civil  and  criminal
          3.  That section also provides certain immunities from suit.  We
          do not reach the issue of immunity.
                                          6

                    jurisdiction of the  State of  Maine, to  the
                    extent authorized  by the Maine  Implementing
                    Act, and any subsequent amendments thereto.
          The Implementing Act in turn makes the Nation subject "to all the
          duties, 
                 obligations, liabilities and limitations of a municipality
          . . . provided, however, that internal tribal matters . . . shall
          not be subject to regulation by the State."  Me. Rev. Stat.  Ann.
          tit. 30, S 6206(1) (emphasis  added).  The viability of both  the
          federal law claims  under S 1983 and  the state law claims  under
          diversity jurisdiction depend on whether the Implementing Act and
          the Settlement Act subject the Penobscot Nation's stumpage policy
          to 
            regulation 
                       by 
                         the 
                             State.  Put differently, the Nation in certain
          capacities functions as a municipality of Maine and is  reachable
          under 
               state 
                     and 
                        federal 
                                law in that capacity, but when it functions
          as a tribe as to internal tribal matters, it is not.
               This 
                   case 
                        turns 
                             on 
                                whether the issuance of stumpage permits is
          an 
            "internal 
                     tribal 
                            matter."  Under the Settlement Act, we consider
          that to be a question of federal law, and the parties so  agree.4
          If this is an internal  tribal matter, then Akins's S 1983  claim
          fails 
               because 
                       the 
                          Nation 
                                 would not have been acting "under color of
          state 
               law." 
                      
                      See
                         
                         R.J. 
                              Williams Co. v. Fort Belknap Hous. Auth., 719
          F.2d 979, 982  (9th Cir. 1983); Dry  Creek Lodge, Inc. v.  United
          States
               , 
                 515 
                    F.2d 
                         926, 
                              931 (10th Cir. 1975).  If this is an internal
          tribal 
                matter, then under both Settlement Act and the Implementing
          Act, Maine law does not apply and no claims arise under the Maine
          4.  The Settlement Act at 25 U.S.C. S 1735(a) recites that in the
          event of any conflict between that Act and the Maine Implementing
          Act, the federal statute prevails.
                                          7

          Constitution 
                      or 
                        under 
                              the Maine Administrative Procedure Act.  Thus
          no  claim arises  under  state  law warranting  the  exercise  of
          diversity jurisdiction.
                                         IV.
               In 
                 considering 
                             Akins's 
                                    S 
                                      1983 claim, we note that Congress did
          not 
             exempt 
                    the Penobscot Nation from obligations not to trammel on
          civil rights.   At  a minimum  it did  so in  a separate  general
          statute, the Indian  Civil Rights Act of  1968 ("ICRA").  See  25
          U.S.C. SS 1301-41, made applicable to the Penobscot Nation by  25
          U.S.C. S  1725(h).  The  ICRA imposes  "restrictions upon  tribal
          governments similar, but not identical, to those embodied in  the
          Bill of Rights and the Fourteenth Amendment."  Santa Clara Pueblo
          v. Martinez, 436 U.S. 49, 57 (1978).  Under the ICRA, "No  Indian
          tribe in exercising powers of self-government shall . . . deny to
          any 
             person 
                    within 
                          its 
                              jurisdiction the equal protection of its laws
          or 
            deprive 
                    any 
                       person 
                              of 
                                 liberty or property without due process of
          law."  25 U.S.C. S 1302(8).
               Two distinctions are pertinent.  As a matter of  substantive
          law,  generally, the ICRA  and not the  U.S. Constitution is  the
          source of the rights.  See Santa Clara Pueblo, 436 U.S. at 56; J.
          Resnik, 
                 Dependent 
                          Soverei
                                 gns: Indian Tribes, States and the Federal
          Courts, 56 U.  Chi. L. Rev. 671,  694 (1989) ("Members of  Indian
          tribes cannot make Bill of Rights claims against their tribes.").
          Secondly, such claims of violations of civil rights must be heard
          in the  tribal  courts, not  in  the federal  courts.   With  the
          exception of petitions for habeas corpus relief, Congress did not
                                          8

          intend in the ICRA to create implied causes of action to  redress
          substantive 
                     rights in federal court.5  See Santa Clara Pueblo, 436
          U.S. at 59-66.  Similarly, if this is an internal tribal  matter,
          then the tribal court will have authority over the essence of the
          state constitutional  claims.  The  ICRA contains  its own  equal
          protection   and  due   process   guarantees.     Akins's   state
          constitutional claims rest on similar guarantees.  This is not  a
          potential instance of a right without a remedy.
                                         V.
               Is the  issuance  of stumpage  permits an  "internal  tribal
          matter"?  The language of the statute itself is the first resort.
          That language refers to:
                    internal tribal matters, including membership
                    in the respective tribe or nation, the  right
                    to  reside   within  the  respective   Indian
                    territories,  tribal   organization,   tribal
                    government, tribal elections  and the use  or
                    disposition of settlement fund income . . . .
          Me. Rev. Stat. Ann. tit. 30, S 6206(1).  Because the wording used
          is "including,"  the specific  categories are  exemplars and  not
          exclusive.  The examples provide limited guidance.  The  stumpage
          permit policy does not fit neatly within any of these categories.
          5.  While Akins may view a tribal court as a less desirable forum
          than federal court, the Supreme Court has said that "even if a
          jurisdictional holding occasionally results in denying an Indian
          plaintiff a forum to which a non-Indian has access, such
          disparate treatment of the Indian is justified because it is
          intended to benefit the class of which he is a member by
          furthering the congressional policy of Indian self-government." 
          Fisher v. District Ct., 424 U.S. 382, 390-91 (1976).  The Court
          has recognized that subjecting purely intra-tribal disputes to
          state jurisdiction has the potential to undermine the authority
          of tribal courts and of the tribal government.  See Santa Clara
          Pueblo, 436 U.S. at 59-60.
                                          9

          It might be argued it fits within "tribal government" but such an
          argument rests on inherently  too broad a reading of the  phrase.
          That a tribe attempts  to govern a matter  does not render it  an
          internal tribal matter.
               A 
                number 
                       of 
                         strong 
                                considerations point to the stumpage policy
          being an internal tribal matter.  First, and foremost, the policy
          purports to  regulate only members of  the tribe, as only  tribal
          members may even apply for permits.  The interests of non-members
          are not at issue.   Thus, it appears  to be an "internal"  tribal
          matter.  Second, the policy has to do with the commercial use  of
          lands 
               acquired 
                        by 
                          the 
                              Nation with the federal funds it received for
          this 
              purpose 
                      as part of the settlement agreement.  These lands are
          "Penobscot 
                    Indian Territory" and are subject to federal restraints
          on 
            alienation.  See 25 U.S.C. S 1724; Me. Rev. Stat. Ann. tit. 30,
          S 6205.   The  policy regulates the  very land  that defines  the
          territory of the Nation, and so appears to be a "tribal"  matter.
          Third, the policy  concerns the harvesting of a natural  resource
          from 
              that 
                   land; and permit fees paid benefit the Penobscot Nation.
          The control of the permitting process operates as a control  over
          the growth,  health, and reaping of  that resource.  Fourth,  the
          policy, at least  on its face, does  not implicate or impair  any
          interest 
                  of 
                     the 
                        state 
                              of 
                                 Maine.  Fifth, it is consistent with prior
          legal 
               understandings 
                             to 
                                view the issuance of stumpage permits as an
          internal tribal matter.
               There are also arguments that this is not an internal tribal
          matter.  First, logging permits are issued by municipalities as a
                                         10

          standard part of municipal powers.  But it is surely too broad  a
          test to ask whether a municipality engages in the same  activity.
          Every 
               activity 
                       specifically listed in the statute as an exemplar of
          an internal tribal matter is also engaged in by a municipality.  
               The 
                  second 
                         and more interesting argument advanced by Akins is
          that, outside of  the categorical exemplars, the focus should  be
          historical and tribe specific.  The Penobscots, Akins says,  have
          offered no evidence  that they have historically been loggers  or
          supported themselves through  timber harvesting.  Logging,  Akins
          says, 
               is 
                  a 
                    major commercial activity in Maine and historically has
          been engaged in by others,  and is not "uniquely Indian" nor  "of
          particular cultural importance" to the Nation.  
               Akins  analogizes  the expansion  of  the  Nation  into  the
          economics 
                   of 
                      commercial logging to the expansion of the tribe into
          commercial gambling,  an activity that  the Maine  Law Court  has
          specifically  held is  not  an  "internal tribal  matter."    See
          Stilphen, 461 A.2d 478 (holding that an illegal bingo game run by
          the 
             Nation 
                    did not qualify as an internal tribal matter); see also
          Passamaquoddy Tribe, 75 F.3d at 787-88 (holding that Congress did
          not intend to give the  Maine tribes any rights under the  Indian
          Gaming  Regulatory Act).   At the very  least, Akins argues,  the
          dismissal 
                   of 
                      his 
                         action 
                                should be vacated and the case remanded for
          a hearing on whether logging is a traditional tribal activity and
          whether the stumpage policy reinforces traditional tribal values.
               The Nation responds to this latter argument vigorously.  The
          Nation retorts  that it  is not  a museum  piece and  may not  be
                                         11

          relegated to historic roles.  If the Nation is truly to  exercise
          its 
             residual 
                     sovereignty, it must be free to act within the present
          marketplace 
                     and not be stereotypically restricted to ancient forms
          of 
            economic 
                     support.  Narrow historical analysis, the Nation says,
          should play almost no role.  Accordingly, the Nation argues  that
          the Maine  Law Court  was wrong in  Stilphen when  it focused  on
          historic 
                  culture or development to define internal tribal matters.
          See Stilphen, 461 A.2d at 490.
               Such 
                   broad 
                         themes do not help to define the rules of decision
          in  these cases.   At  the same  time Congress  was enacting  the
          Settlement 
                    Act 
                       the 
                           Supreme Court noted that, "'[g]eneralizations in
          this 
              subject 
                      [of 
                         tribal 
                                authority] have become . . . treacherous.'"
          White Mountain Apache Tribe v. Bracker, 448 U.S. 136, 141  (1980)
          (quoting Mescalero  Apache  Tribe v.  Jones,  411 U.S.  145,  148
          (1973)). 
                   
                  Generalizations are no less treacherous today, almost two
          decades later.  We  tread cautiously and write narrowly, for  the
          problems 
                  and 
                      conflicting interests presented by this case will not
          be the same as the  problems and interests presented by the  next
          case.
               Context informs our approach.  This is not a dispute between
          Maine and the  Nation over the  attempted enforcement of  Maine's
          laws. 
                
                This 
                    does 
                         not 
                             involve a direct or indirect regulation of the
          Nation 
                by 
                   Congress. 
                             
                             This is also not a dispute over application of
          statutory rights  Congress may  have wished  to apply  uniformly,
          regardless of  whether the application  involved Indian lands  or
          Indian government.  This is not an instance of potential conflict
                                         12

          or 
            coincidence 
                        of 
                          Maine 
                                law and federal statutory law.  This is not
          even a situation of substantive rights regarding stumpage permits
          granted to persons by statute, state or federal.  This is instead
          a question of allocation of jurisdiction among different fora and
          allocation of substantive law to a dispute between tribal members
          where 
               neither the Congress nor the Maine Legislature has expressed
          a particular interest.  The federal courts have jurisdiction over
          this case  only if the stumpage  permits are not internal  tribal
          matters.
               The five  considerations outlined  earlier, taken  together,
          resolve the  question in favor of  this being an internal  tribal
          matter  and do so as  a matter of law.   Though future cases  may
          require some exploration of evidence as to whether the underlying
          subject is  an  internal tribal  matter  before decision  of  the
          jurisdictional question, this case does not.
               Of 
                 great 
                       significance 
                                   is 
                                      that this is an intra-tribal dispute.
          It involves  only members of  the tribe, and  not actions by  the
          Nation addressed to  non-members.  The  tribe's treatment of  its
          members, 
                  particularly 
                              as 
                                 to commercial interests, is not of central
          concern to  either Maine or federal  law (other than through  the
          ICRA).  There appear to be  no strong policy reasons not to  view
          this as an area appropriate for internal tribal regulation.
               Secondly, the  subject matter appears  to be  one which  the
          settlement  statutes viewed  as  being within  legitimate  tribal
          concern; 
                  both 
                      the 
                          Implementing Act, S 6203, and the Settlement Act,
          S 
           1722, 
                 define 
                       "land 
                             and 
                                 other natural resources" as meaning, inter
                                         13

          alia, "timber and  timber rights."6  The Settlement Act  provides
          that the natural resources within the Penobscot Indian  Territory
          may, at the request of the Nation, be leased, sold, or subject to
          right of way, in accord with other sections of Title 25.   See 25
          U.S.C. S 1724(g).  It has long been understood that the power  to
          issue 
               permits 
                       is 
                         an 
                            indirect method of managing a natural resource.
          See California Coastal Comm'n  v. Granite Rock Co., 480 U.S.  572
          (1987).  To a large extent, the subject matter here involves  the
          regulation and conservation of natural resources belonging to the
          tribe.
               Third, 
                     the 
                         subject matter, involving tribal lands, appears to
          have 
              no 
                 impact 
                       on 
                          Maine's environmental or other interests.  By its
          own  terms,  the  Implementing Act,  S  6204,  makes  state  laws
          regulating land use or management, conservation and environmental
          protection 
                    applicable 
                              to 
                                 tribal lands.  The absence of an assertion
          that 
              any 
                  such 
                      laws 
                           are 
                               involved here is telling.  Cf. Narragansett,
          89 F.3d at 922 (enjoining construction of housing until the tribe
          complied  with  the  requirements  of  state  coastal   resources
          management program).   Under such circumstances, arguments  about
          history,  which  may  be pertinent  in  other  contexts  and  for
          addressing other problems,7 offer little here.
          6.  That language is used in part to define the meaning of Indian
          lands and used to extinguish claims that much earlier transfers
          of lands had not complied with the Trade and Intercourse Act of
          1790, and other claims.  See 25 U.S.C. S 1723.
          7.  Debates about the role to be played by historical and
          anthropological evidence in Indian cases are not new.  In the
          trial court in Santa Clara, such evidence was explored, and
          commentators have questioned whether it is relevant to the issue
                                         14

               We test  our conclusions  against a  different history,  the
          legislative history, because the language of the Implementing and
          Settlement 
                    Acts 
                         does 
                             not 
                                 clearly dispose of the question.  See Blum
          v. Stenson, 465 U.S. 886, 896 (1984) ("Where, as here, resolution
          of a question of federal law turns on a statute and the intention
          of Congress, we look first to the statutory language and then  to
          the legislative history if the statutory language is  unclear.");
          Penobscot Indian Nation v. Key Bank, 112 F.3d 538, 548 (1st  Cir.
          1997)  (inquiry   into  legislative   history  is   "particularly
          appropriate in the context of federal Indian law"); Massachusetts
          v. FDIC,  102 F.3d 615,  620 (1st Cir.  1996).  That  legislative
          history  is  only  somewhat  helpful  because  it  embodies   two
          conflicting approaches to  resolving the question  of what is  an
          internal tribal matter.  On the one hand, Congress described  the
          settlement 
                    as "original" and "innovative."  On the other hand, the
          Congress  referred  to  respecting  the  inherent  self-governing
          authority 
                   of 
                      a tribe.  In so doing, it referred to a Supreme Court
          opinion, Santa Clara Pueblo, 436 U.S. 49 (1978).
               We 
                 look 
                      to 
                        the 
                            Committee 
                                      Report of the Senate Select Committee
          on Indian Affairs concerning  the Settlement Act.  See Garcia  v.
          United 
                States, 469 U.S. 70, 76 (1984) (Committee Reports on a bill
          are 
             authoritative 
                          source 
                                 for determining legislative intent).  That
          report 
                explains that the "treatment of the Passamaquoddy Tribe and
          Penobscot 
                   Nation in the Maine Implementing Act is original.  It is
          an innovative blend  of customary state  law respecting units  of
          of sovereignty.  See Resnik, 56 U. Chi. L. Rev. at 705-09.
                                         15

          local government  coupled with a  recognition of the  independent
          source of tribal authority, that is, the inherent authority of  a
          tribe to be self-governing."  S.  Rep.  No. 96-957, at 29  (1980)
          (citing Santa Clara Pueblo, 436 U.S. 49).
               In 
                 the 
                     final 
                          Committee 
                                    Reports on the Settlement Act, both the
          House and  the Senate addressed  the Nation's  concern that  "the
          settlement amounts to a 'destruction' of the sovereign rights and
          jurisdiction 
                      of the . . . Penobscot Nation."  S. Rep.  No. 96-957,
          at 14;  H.R.  Rep. No.  96-1353,  at 14-15  (1980).   Before  the
          settlement, 
                     the federal government had not formally recognized the
          Penobscot 
                   Nation 
                          as 
                            an 
                               Indian tribe and the State of Maine had long
          assumed that the Maine  tribes had no inherent sovereignty.   See
          Bottomly v. Passamaquoddy Tribe, 599 F.2d 1061, 1063-65 (1st Cir.
          1979).  The Reports state that "While the settlement represents a
          compromise in  which  state  authority is  extended  over  Indian
          territory to the extent provided in the Maine Implementing Act, .
          . 
           . 
             the 
                settlement 
                           provides that henceforth the tribes will be free
          from 
              state 
                    interference in the exercise of their internal affairs.
          Thus, rather than  destroying the sovereignty  of the tribes,  by
          recognizing 
                     their 
                          power 
                                to control their internal affairs . . . the
          settlement strengthens the sovereignty of the Maine Tribes."   S.
          Rep. No. 96-957, at 14; H.R. Rep. No. 96-1353, at 14-15.
               The Committee Report also referred to the Santa Clara Pueblo
          case, 
               which 
                     concerned whether Title I of the ICRA authorized civil
          actions  in  the  federal  courts  to  enforce  its   substantive
          provisions.  At  issue was the  definition of tribal  membership,
                                         16

          which the tribe extended to children of males who married outside
          the tribe but not to children of females who married outside  the
          tribe. 
                 
                 The 
                    Supreme 
                            Court held that the ICRA vested jurisdiction in
          the 
             tribal 
                    courts 
                          and 
                              not the federal courts.  The Court recognized
          both 
              that 
                   Congress 
                           had 
                               the power to limit the powers of local self-
          government 
                    that tribes possessed and that Congress intended in the
          ICRA to balance  dual objectives.  Under such circumstances,  the
          Court 
               would 
                     not infer from Congressional silence a cause of action
          in the federal courts.
               Congress' citation to the Santa Clara Pueblo opinion in  the
          Senate 
                Report 
                      reinforces 
                                 the tension between the dual objectives of
          the Settlement Act: between an original, innovative allocation of
          authority 
                   between the State and tribes and the desire to recognize
          the 
             tribe's 
                    inherent 
                             self-government authority.  From Congressional
          silence we are hesitant to read an intent to expand federal court
          jurisdiction 
                      where 
                           it 
                              appears, as it does here, that inherent self-
          governing authority of a tribe is involved.  We stress that we do
          not read the reference by  Congress to Santa Clara Pueblo in  the
          legislative 
                     history of the Settlement Act as invoking all of prior
          Indian law.  That would be inconsistent with the unique nature of
          the Maine  settlement  and the  specific  provisions of  the  Act
          limiting 
                  the 
                     application 
                                 of federal Indian law.  But we also do not
          agree 
               that 
                    reference to such law is never helpful in defining what
          is an internal tribal matter.   Congress was explicitly aware  of
          such law, and explicitly made existing general federal Indian law
          applicable 
                    to 
                      the 
                          Penobscot Nation in the Settlement Act.  In other
                                         17

          areas, courts have  long presumed that Congress acts against  the
          background of prior law.  See, e.g., Clarke v. Securities  Indus.
          Ass'n
              , 
                479 
                    U.S. 
                        388, 
                             405 
                                 (1987); Kolster v. INS, 101 F.3d 785, 787-
          88 (1st Cir. 1996).
               General federal Indian caselaw supports our conclusion.  The
          cases uniformly recognize  the importance of the factors we  have
          stressed: 
                   that 
                        the 
                           issue 
                                 involves matters between tribe members and
          matters of the economic use of natural resources inherent in  the
          tribal 
                lands.  "When on-reservation conduct involving only Indians
          is at issue, state law is generally inapplicable, for the State's
          regulatory interest  is  likely to  be  minimal and  the  federal
          interest  in  encouraging   tribal  self-government  is  at   its
          strongest."  White  Mountain Apache Tribe, 448  U.S. at 144.   In
          White 
               Mountain Apache, a non-Indian logging company challenged the
          applicability of state  taxes to  its exclusively  on-reservation
          operations.    The  Court  said  that  the  tradition  of  Indian
          sovereignty 
                     over 
                         their 
                               reservations informed the determination that
          the 
             exercise 
                      of state authority was preempted by federal law.  The
          Court reviewed  the "basic principles"  established by its  prior
          decisions regarding  the  "boundaries  between  state  regulatory
          authority and  tribal self-government."  Id.  at 141.  The  Court
          emphasized the  "significant  geographical  component  to  tribal
          sovereignty" 
                      and said that "though the reservation boundary is not
          absolute, it remains an important factor to weigh in  determining
          whether 
                 state authority has exceeded the permissible limits."  Id.
          at 151.
                                         18

               Similarly, 
                         in Merrion v. Jicarilla Apache Tribe, 455 U.S. 130
          (1982), 
                 the 
                     Court 
                          held 
                               that the tribe had the inherent authority to
          impose 
                a 
                  severance tax on on-reservation mining activities as part
          of its power to be self-governing.  This power derived from  "the
          tribe's  general authority,  as  sovereign, to  control  economic
          activity within its  jurisdiction" and  extended to  transactions
          "'occurring on trust lands and significantly involving a tribe or
          its members  .  .  . .'"    Id.  at 137  (quoting  Washington  v.
          Confederated Tribes of Colville Indian Reservation, 447 U.S. 134,
          152 (1980)).
               Where, in  contrast, the issue  involves tribal attempts  to
          regulate 
                  non-tribal 
                            members, the Supreme Court has often found that
          those 
               attempts 
                        are 
                           not 
                               within the inherent self-governing powers of
          a 
           tribe. 
                   
                   Mon
                      tana v. United States, 450 U.S. 544 (1981), held that
          the Crow Indians did not  have the power to regulate hunting  and
          fishing by non-Indians on reservation lands owned by non-Indians.
          The Court said that the tribal "powers of self-government . . . .
          involve 
                 only 
                      the relations among members of a tribe."  Id. at 564.
               Similarly, 
                         in 
                           Strate
                                  
                                  v. 
                                     A
                                      -1 Contractors, 117 S. Ct. 1404, 1409
          (1997), the Court reaffirmed Montana's holding that, in  general,
          the inherent sovereign powers of  a tribe "'do not extend to  the
          activities 
                    of 
                      nonmembers 
                                 of the tribe.'" (quoting Montana, 450 U.S.
          at 565). The  Court also noted  that "tribes retain  considerable
          control  over nonmember conduct  on tribal land."   Id. at  1413.
          Here, only tribal conduct is at issue.
               The legislative history  and precedent  thus reinforces  our
                                         19

          conclusion that this dispute involves an "internal tribal matter"
          and that, accordingly, no claim  is stated under S 1983 or  under
          Maine law.8
               The judgment  of the district court  is affirmed.  Costs  to
          appellees.
          8.  Appellants' claims under S 1985(3) and the Declaratory
          Judgment Act,  28 U.S.C. SS 2201-02 fail for the same reasons. 
          Neither statute, in itself, creates a substantive cause of
          action.  See Great Am. Fed. S. &amp; L. Assn. v. Novotny, 442 U.S.
          366, 372 (1979) (S 1985(3)); Colonial Penn Group, Inc. v.
          Colonial Deposit Co., 834 F.2d 229, 232 (1st Cir. 1987)
          (Declaratory Judgment Act).  Appellants must rely on an
          independent source for their claims, and there is none present
          which is capable of being asserted in federal court.
                                         20


